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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

The United States of America

                ex rel.

James Hannum,

                                 Plaintiff,

       v.                                                             Civ. No.: __________

Roadway Express, Inc. and
Yellow Transportation, Inc.,

                                 Defendants.



                                              COMPLAINT

                Plaintiff, the United States of America, ex rel. James Hannum alleges as its

Complaint against defendants as follows:


                                              Introduction

                1.        This is an action to recover damages, treble damages, and penalties on

behalf of the United States of America on account of false and fraudulent claims made or caused

to be made by defendants, their agents, employees, and co-conspirators, in violation of the

Federal Civil False Claims Act, 31 U.S.C. § 3729, et seq., as amended (the “Act”). These

violations involved the intentional and systematic submission of false claims to the United States

of America, including several of its agencies and/or departments, for the purpose of getting

payments in excess of those to which defendants were lawfully entitled for shipment delivery

charges.
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                2.     Defendants Roadway Express, Inc. (“Roadway”) and Yellow

Transportation, Inc. (“Yellow”), and their employees, agents, and co-conspirators on their behalf,

systematically submitted to the United States of America claims for shipment delivery charges

that falsely and fraudulently billed the United States for the higher, inaccurate, weights of

shipments set forth on bills of lading when defendants knew, after their own weighing, that the

shipments actually weighed less. As a result of these knowingly false and fraudulent claims,

defendants received payments from the United States of America that were inflated, excessive,

and unearned.


                3.     The Act provides that any person who knowingly submits or causes to be

submitted, or conspires to submit, a false or fraudulent claim to the United States of America for

payment or approval is liable for a civil penalty of between $5,500 and $11,000 for each false or

fraudulent claim submitted or paid, plus three times the amount of damages sustained by the

United States of America from the payment of such fraudulent claims. The Act’s Qui Tam

provisions further allow any person having information regarding a false or fraudulent claim

against the United States of America to bring an action for himself (as the “relator”) and for the

United States of America, and to share in any recovery.


                4.     Based on these provisions of the Act, James Hannum, as plaintiff/relator,

seeks to recover damages, treble damages, and civil penalties arising from false claims made to

the United States of America that were knowingly presented or caused to be presented to, and

were paid by, the United States of America as a result of the acts of defendants and their agents,

employees, and co-conspirators.



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                                              Parties

               5.      Plaintiff/relator, James Hannum, is and was, at all times relevant to this

Complaint, a resident of Dunkirk, New York and the County of Chautauqua, within the Western

District of New York. James Hannum has personal knowledge of the facts alleged in this

Complaint and is acquainted with defendants and their business practices.


               6.      James Hannum has been employed by Roadway for 22 years at its Buffalo

facility. He is currently employed as a service planner, or supervisor. For many years before his

current position, he was employed as a weight and inspections supervisor.


               7.      Hannum brings this action for violations of 31 U.S.C. sections 3729 et seq.

on behalf of himself and the United States of America pursuant to 31 U.S.C. section 3730(b)(1).

The allegations of this action are based upon Hannum’s personal knowledge unless otherwise

described as made upon information and belief.


               8.      Hannum is the original source of the factual allegations of this Complaint

within the meaning of section 3730(e)(4)(B) of the Act.


               9.      Upon information and belief, Roadway is a corporation organized and

existing under the laws of the State of Delaware, with principal offices for the transaction of

business located at 10990 Roe Ave, Overland Park, Kansas 66211, and at 1077 Gorge

Boulevard, Akron, Ohio 44309.




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               10.     Upon information and belief, Yellow is a corporation organized and

existing under the laws of the State of Indiana, with a principal office for the transaction of

business located at 10990 Roe Ave., Overland Park, Kansas 66211.


               11.     Roadway and Yellow are subsidiaries of YRC Worldwide Inc., which is a

publicly traded company headquartered in Overland Park, Kansas. Upon information and belief,

Roadway and Yellow, which have been sister companies since 2003, have recently been, or will

soon be, merged into a single company.


                                     Jurisdiction and Venue

               12.     Roadway and Yellow are doing business in this District and elsewhere in

New York and are subject to this Court’s jurisdiction.


               13.     Upon information and belief, Roadway and Yellow are authorized to do

business in New York.


               14.     This Court has jurisdiction over the subject matter of this action under

28 U.S.C. section 1331 and 31 U.S.C. section 3732, both of which specifically confer

jurisdiction on this Court for actions under the Act ( i.e., under 31 U.S.C. sections 3729 and

3730).


               15.     Venue is proper in this jurisdiction under 31 U.S.C. section 3732(a)

because any one or all of the defendants can be found and/or transact business within the

Western District of New York, and because violations of 31 U.S.C. sections 3729 and 3730




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alleged in the Complaint occurred within this judicial district. Venue is also proper pursuant to

28 U.S.C. sections 1391(b) and (c).


                                       Allegations of Fact

               16.     At all relevant times, defendants were and are in the business transporting

shipments for a fee.


               17.     Defendants, by agreements and with the approval of the United States of

America, have been and/or are authorized, upon request, to pick up and deliver shipments for the

United States of America, including those for the benefit of its departments and agencies.


               18.     Over the last several years, defendants, under the terms of their

agreements and contracts with departments and agencies of the United States of America, picked

up and delivered certain shipments under various terms and conditions expressly and particularly

specified by the United States of America including, but not limited to, the places of pick up and

delivery, and the time and date by which the shipments were to be delivered to their destinations.


               19.     When shippers like the United States government send shipments via

Roadway or Yellow, they submit the shipments along with bills of lading, which set forth the

shipment’s weight — as initially determined by the shipper.


               20.     Each shipment’s weight, along with the distance that it must travel, are the

two factors that defendants use to determine the fee that they charge to the United States.


               21.     Roadway’s internal policies require it to conduct weight verifications,

whereby its employees, typically forklift operators (also known as “freight handling


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professionals”), are to weigh each shipment to determine whether the shipper’s stated weight,

typed on the bill of lading, is accurate. Upon information and belief, Yellow has the same

internal policies.


                22.    After it is weighed, each shipment’s actual weight — whether it is higher

or lower than that stated in the bill of lading — is then entered into the respective defendants’

computer system as a weight correction.


                23.    From about 2004 to the present, Roadway has been processing its weight

corrections solely to increase the amount invoiced when the actual scale weight exceeds the

stated weight on the bill of lading. Roadway deliberately prohibits its computer system from

decreasing the amount invoiced when the actual scale weight is less than that stated on the bill of

lading.


                24.    In other words, Roadway adjusts invoices upward for heavier-than-stated

shipments, but set its automated computer system so that invoices are not adjusted downward for

lighter-than-stated shipments, which are essentially ignored by the computer system. Instead,

Roadway keeps the resulting overcharges.


                25.    Upon information and belief, before about 2006, Yellow processed its

weight corrections both to (a) increase the amount invoiced, when the actual weight exceeded

the stated weight on the bill of lading, and (b) decrease the amount invoiced, when the actual

weight was less than the stated weight on the bill of lading.




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               26.     Upon information and belief, sometime in about 2006, once Roadway’s

practice became known to its sister company Yellow, Yellow then deliberately chose to change

its practice to mirror Roadway’s, namely, to make upward weight corrections, yet ignore would-

be downward corrections, thereby pocketing the resulting overcharges.


               27.     Upon information and belief, Yellow’s decision to adopt Roadway’s

fraudulent practice, and each defendant’s decisions to maintain this practice, were executive-

level decisions. Upon information and belief, some of these executive-level decisions may have

been made at defendants’ parent company, YRC Worldwide Inc.


               28.     Upon information and belief, Yellow’s fraudulent practice, in place since

about 2006, continues to this day.


               29.     Upon information and belief, defendants have and continue to apply this

fraudulent practice systematically to thousands of U.S. Government shipments.1


               30.     This fraudulent practice also violates applicable tariff requirements, which

require that, “[w]hen a carrier independently performs a shipment weight verification and

discovers a discrepancy between the verified weight and the weight shown on the BL [bill of

lading], it is the carrier’s responsibility to obtain a BL correction notice from the origin TO

[transportation officer].”



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        Both defendants, upon information and belief, automatically disregard minor weight
        corrections — both upward and downward — if they are less than about 30-40 pounds.




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               31.    By way of example, a shipment from Dover Air Force Base in Delaware

to a munitions storage site in Oklahoma had 4,310 pounds as its stated weight on the

government’s bill of lading. Roadway’s scale then weighed the shipment at 3,345 pounds, but

Roadway charged the government the full amount for a 4,310-pound shipment, resulting in an

overcharge of approximately $222.84.


               32.    Similarly, an exemplar shipment from Travis Air Force Base in California

to an Army depot in Pennsylvania had 620 pounds as it stated weight on the government’s bill of

lading. Roadway’s scale then weighed the shipment at 220 pounds, but Roadway charged the

government the full amount for a 620-pound shipment, resulting in an overcharge of

approximately $133.23.


               33.    In this manner, Roadway and Yellow systematically and fraudulently

compute the amounts they are owed by the United States, and then charge these amounts via

electronic invoices submitted through an electronic payment processing system called

PowerTrack. The amounts are then paid by the United States through this system.


               34.    The United States of America, including the Department of Defense, the

General Services Administration, and other departments and agencies, has paid and pays

defendants for shipments that defendants know actually weigh less than the weight that the

United States is charged for.


               35.    Defendants’ practices described in this Complaint constitute “claims” for

payment submitted under the Act and, in particular, under 31 U.S.C. 3729(c).




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               36.    The United States of America paid defendants monies demanded through

defendants’ presentment of claims that contained overcharges.


               37.    During the years at issue in this Complaint, defendants and their

employees, agents, and co-conspirators, knowingly presented or caused to be presented false and

fraudulent claims to the United States of America through the submission of requests for

payment for shipments that weighed less than the amounts for which the United States was

billed.


               38.    During the years at issue in this Complaint, defendants and their

employees, agents, and co-conspirators, knowingly made false records that directly resulted in

improper and/or inflated payments being made by the United States of America for shipments

containing overcharges.


               39.    During the years at issue in this Complaint, defendants and their

employees conspired and agreed among themselves and with others, both known and unknown,

to create and submit for payment to the United States of America false and fraudulent claims for

payment with knowledge and intent to defraud the United States of America and, during the

relevant period, performed acts in furtherance of such conspiracy that ultimately resulted in the

United States of America overpaying defendants for shipment delivery services.


               40.    In particular, defendants submitted to the United States of America claims

for payment for shipment delivery services that falsely and fraudulently represented that the

amounts charged were based on weights that were verified to be accurate when, in fact,

defendants, together with their agents, employees, and co-conspirators, knew that these

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representations were untrue because these shipments actually weighed less than that represented

by defendants.


                 41.   In connection with the submission of such false and fraudulent claims,

defendants, together with their agents, employees, and co-conspirators, created false delivery

invoices to support their fraudulent claims to the United States of America.


                 42.   As a result, defendants obtained payment for amounts set forth in the false

and fraudulent claims submitted by defendants when such payments were in excess of what

defendants would have been entitled to receive if the weight of each shipment was accurately

and truthfully represented.


                                             Count I

                        Substantive Violations of the False Claims Act
                          [31 U.S.C. §§ 3729(a)(1), (a)(2), and (a)(7)]

                 43.   Hannum repeats and realleges each allegation of numbered paragraphs 1

through 42 of this Complaint as part of this First Cause of Action.


                 44.   Defendants, together with their agents, employees, and co-conspirators,

presented and caused to be presented to the United States of America knowingly false and

fraudulent claims for payment for shipment delivery services and, as well, knowingly created

and made false records in connection with such fraudulent and false submissions.


                 45.   In addition, defendants in this way knowingly made, used, and/or caused

to be made or used false records and/or statements to conceal, avoid, or decrease resulting

obligations to repay the Untied States for these overcharges.

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               46.     As a result of the knowingly false and fraudulent claims submitted by

defendants, together with their agents, employees, and co-conspirators, the United States of

America overpaid for shipments that weighed less than that for which it was charged.


               47.     As a result of defendants’ knowing conduct and fraudulent overcharging,

the United States of America has overpaid defendants substantial amounts of money, which total,

at this time, is unknown but which can be expected to exceed several millions of dollars over the

period relevant to this Complaint.


               48.     As a result of the knowingly fraudulent conduct of defendants together

with that of their respective agents, employees, and co-conspirators, defendants are liable to the

United States of America for the amount of the overpayments made to it, trebled, plus penalties,

interest, and attorneys’ fees under the Act.


                                               Count II

                                  False Claims and Conspiracy
                                    [31 U.S.C. § 3729(a)(3)]

               49.     Hannum repeats and realleges each allegation contained in paragraphs 1

through 48 of this Complaint as part of this Second Cause of Action.


               50.     During the last several years, defendants and their employees knowingly

conspired among themselves and with others, including defendants’ employees and agents, to

defraud the United States of America by causing false and fraudulent claims to be submitted and

by knowingly making and submitting claims for payment that falsely charged for higher weight

shipments that were, in fact, lighter, by submitting claims for payment to the United States of


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America that defendants knew were false because defendants implied that their invoices would

be accurate and based upon accurate weights as verified by defendants.


                 51.   In furtherance of the conspiracy, defendants entered into contracts for the

transportation of shipments and created other records and documents substantiating such

information, knowing that information to be false and untrue, with the intent to defraud the

United States of America.


                 52.   Based upon the false and fraudulent claims submitted by defendants, the

United States of America paid defendants in excess of what they were entitled to for the services

they provided.


                 53.   As a result, the United States of America has sustained substantial

damages directly related to overpayments made to Roadway and Yellow based upon false and

fraudulent claims, and they are therefore liable to the United States of America for the amount of

such overpayments made to them, trebled, together with penalties, interest, and the costs of this

action, including attorneys’ fees, as provided for by the Act.


                                          Jury Demand

                 54.   Hannum demands a jury on all issues and matters triable by a jury under

this Complaint.


                                         Relief Requested

                 WHEREFORE, the United States of America ex rel. James Hannum demands

judgment against Roadway and Yellow as follows:



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                     a)          On the first cause of action, for treble damages under 31 U.S.C.
                                 § 3729(a)(1), (a)(2), and (a)(7) in an amount to be determined at trial, plus
                                 penalties, costs, interest, and attorneys’ fees;

                     b)          On the second cause of action, for treble damages under 31 U.S.C.
                                 § 3729(a)(3) in an amount to be determined at trial, plus penalties, costs,
                                 interest, and attorneys’ fees;

                     c)          On the first and second causes of action, for the damages sustained by the
                                 United States of America; and

                     d)          For award of such other and further relief as this Court deems proper as a
                                 matter of law or under the False Claims Act, 31 U.S.C. §§ 3729 et seq.


Dated:               Buffalo, New York
                     November 3, 2008

                                                                  HODGSON RUSS LLP
                                                                  Attorneys for James Hannum

                                                                  By: s/Daniel C. Oliverio
                                                                         Daniel C. Oliverio, Esq.
                                                                         Joseph V. Sedita, Esq.
                                                                         John L. Sinatra, Jr., Esq.
                                                                  140 Pearl Street, Suite 100
                                                                  Buffalo, New York 14202-4040
                                                                  Telephone: (716) 856-4000




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